     Case: 4:23-mj-09138-RHH Doc. #: 4 Filed: 06/30/23 Page: 1 of 2 PageID #: 20




                                UNITED STATES DISTRICT COURT
                                EASTERN DISTRICT OF MISSOURI
                                      EASTERN DIVISION

UNITED STATES OF AMERICA,                        )
                                                 )
                   Plaintiff,                    )
                                                 )
v.                                               ) No. 4:23 MJ 9138 RHH
                                                 )
LAROB HARRIS,                                    ) FILED UNDER SEAL
                                                 )
                   Defendant.                    ) SIGNED AND SUBMITTED TO THE COURT FOR
                                                   FILING BY RELIABLE ELECTRONIC MEANS

               UNITED STATES OF AMERICA’S MOTION FOR DETENTION

              COMES NOW the United States Attorney for the Eastern District of Missouri, and Ashley

     Walker, Assistant United States Attorneys for said District, and moves the Court to order

     LaRob Harris detained pending the disposition of this matter, pursuant to Title 18, United

     States Code, 5032, et seq., and further requests a detention hearing be held on this matter.

              As and for its grounds, the United States of America states as follows:

              1.     The Defendant is charged with a Hobbs Act Robbery resulting in death, in

violation of Title 18, United States Code, Sections 1951(a) and 2, and with brandishing a

firearm in furtherance of a crime of violence, resulting in death, in violation of Title 18,

United States Code, Sections 924(c) and (j), and 2.

              2. Accordingly, the United States moves the Court to order Defendant detained

pending trial, and further requests that a detention hearing be held three (3) days from the date

of Defendant's initial appearance before the United States Magistrate pursuant to Title 18,

United States Code, Section 3141, et seq. It is the government’s position that the Defendant is a

flight risk and a danger to the community.
  Case: 4:23-mj-09138-RHH Doc. #: 4 Filed: 06/30/23 Page: 2 of 2 PageID #: 21




       WHEREFORE, the United States requests this Court to order Defendant detained prior to

trial, and further to order a detention hearing three (3) days from the date of Defendant's initial

appearance.



                                                Respectfully submitted,

                                                SAYLER A. FLEMING
                                                United States Attorney
                                                Eastern District of Missouri

                                                /s/ Ashley M. Walker
                                                ASHLEY M. WALKER #67175MO
                                                Assistant U.S. Attorney
